Case 5:24-cr-00467-SLP Document51_ Filed 06/10/25 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT FOR THE

WESTERN DISTRICT OF OKLAHOMA

a/k/a “@Abu_Omir,”

UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
-VS- ) Case No. CR-24-467-SLP.
)
NASIR AHMAD TAWHEDI, ) Violations: 18 U.S.C. § 2339B
a/k/a Nasir Ahmad Azizi, ) 18 U.S.C. § 924(h)
)
)
)

Defendant.

SUPERSEDING INFORMATION

The United States Attorney charges:

COUNT 1
(Conspiracy and Attempt to Provide Material Support or Resources to a
Designated Foreign Terrorist Organization)

From in or about June 2024, through on or about October 7, 2024, in the Western
District of Oklahoma and elsewhere,
NASIR AHMAD TAWHEDI,

a/k/a Nasir Ahmad Azizi,
a/k/a “@Abu_Onmir,”

knowingly and voluntarily conspired with others, both known and unknown to the United
States Attorney, to interdependently provide material support and resources, to wit:
services; personnel (including himself); and money, to a foreign terrorist organization,
namely the Islamic State of iraq and al-Sham (“ISIS”), which at all relevant times was

designated by the Secretary of State as a foreign terrorist organization, knowing that ISIS
Case 5:24-cr-00467-SLP Document51 _ Filed 06/10/25 Page 2 of 2

was a designated terrorist organization, and that ISIS had engaged in and was engaging in
terrorist activity and terrorism, and attempted to do the same.

All in violation of Title 18, United States Code, Section 2339B.

COUNT 2
(Receipt of a Firearm and Ammunition to be Used to
Commit a Federal Crime of Terrorism)

From in or about June 2024, through on or about October 7, 2024, in the Western
District of Oklahoma and elsewhere,
NASIR AHMAD TAWHEDI,

a/k/a Nasir Ahmad Azizi,
a/k/a “@Abu_Omir,”

knowingly received, attempted to receive, and knowingly and voluntarily conspired with
others, both known and unknown to the United States Attorney, to receive a firearm and
ammunition, to wit: two AK-47-style rifles and 500 rounds of ammunition, knowing and
having reasonable cause to believe that the firearm and ammunition would be used to
commit a Federal crime of terrorism, specifically attempting to provide and conspiring to
provide material support and resources to the Islamic State of Iraq and al-Sham (“ISIS”), a
designated foreign terrorist organization.
All in violation of Title 18, United States Code, Section 924(h).

ROBERT J. TROESTER
United States Attorney

JESSICA L. PERRY
MATT DILLON
Assistant United States Attorneys
